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                                                    June 2, 2021


VIA ECF

Honorable Colleen McMahon
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

            Re:    United States v. Thomas Carbonaro, Case No. 02-CR-743 (CM)

Dear Judge McMahon:

                This firm represents defendant Thomas Carbonaro in connection with his motion
for a sentence reduction pursuant to 18 U.S.C. § 3582(c)(1)(A), which motion is fully briefed
and is currently pending before the Court. (Docket Nos. 469, 470 and 474.) Following the
publication yesterday of an article in the Staten Island Advance about Mr. Carbonaro’s sentence
reduction motion, I received an unsolicited e-mail from an individual named Nicholas Mele, who
wrote the following about Mr. Carbonaro:

              I was friends with [Mr. Carbonaro’s] daughter and close to the
              family many years ago. Like many young kids growing up in
              Brooklyn it was not easy to stay out of trouble and make good
              choices. When I made some bad mistakes and was not associating
              with the proper people [Mr. Carbonaro] helped guide me in the
              right direction. Due to the advice he gave me as a kid and his help
              during some difficult times I changed my path and started to make
              good choices. I focused on school, went into education, and have
              been in the field of education the past 21 years. I started as a
              teacher, a dean, Assistant Principal and today I am Principal for the
              past 11 years of Intermediate School 51 on Staten Island. If I can
              be of any assistance to you in sharing my story of how he helped a
              young, confused kid, do the right thing, and become a successful
              individual please let me know. I have shared [Mr. Carbonaro’s]
              advice that he gave me to countless of my students over the years
              and I know it has helped many of them on their path.
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               We respectfully submit that Mr. Mele’s e-mail provides important additional
information about Mr. Carbonaro’s history and characteristics. It is also consistent with the
words of Mr. Carbonaro’s family and friends in support of his sentence reduction motion. We
therefore thought that Mr. Mele’s e-mail would be of assistance to the Court in adjudicating Mr.
Carbonaro’s sentence reduction motion. A copy of Mr. Mele’s e-mail therefore is enclosed with
this letter.

               Thank you for your consideration and attention to this matter.


                                                    Respectfully submitted,

                                                            /s/

                                                    Harlan Protass

Encl.

cc:     David J. Robles, Esq, (via ECF)
        Assistant United States Attorney




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          Thomas Carbonaro
          Nick Mele <nmele4@hotmail.com>
          Wed 6/2/2021 3:23 PM
          To: Harlan Protass <hprotass@protasslaw.com>
          Mr. Protass,

          Last night I saw the ar cle in the SI Advance regarding the advocacy on your part to have Thomas Carbonaro be released early
          from prison. I was friends with Huck's daughter and close to the family many years ago. Like many young kids growing up in
          Brooklyn it was not easy to stay out of trouble and make good choices. When I made some bad mistakes and was not associa ng
          with the proper people Huck helped guide me in the right direc on. Due to the advice he gave me as a kid and his help during
          some diﬃcult mes I changed my path and started to make good choices. I focused on school, went into educa on, and have
          been in the ﬁeld of educa on the past 21 years. I started as a teacher, a dean, Assistant Principal and today I am Principal for the
          past 11 years of Intermediate School 51 on Staten Island. If I can be any assistance to you in sharing my story of how he helped a
          young, confused kid, do the right thing, and become a successful individual please let me know. I have shared his advice that he
          gave me to countless of my students over the years and I know it has helped many of them on their path. Please feel to call me
          at 7182886755 or email me any me if you think I can help.

          Sincerely,
          Nicholas Mele




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